Case 1:12-cv-21932-KMM Document 11-1 Entered on FLSD Docket 05/30/2012 Page 1 of 3




                  EXHIBIT 1
www.sunbiz.org - Department of State                                    Page 1 of 2
Case 1:12-cv-21932-KMM Document 11-1 Entered on FLSD Docket 05/30/2012 Page 2 of 3




  Home              Contact Us         E-Filing Services    Document Searches   Forms       Help


 Previous on List       Next on List       Return To List                           Entity Name Search

 Events                 No Name History                                                   Submit


 Detail by Entity Name
 Foreign Limited Liability Company
 GHM (SOUTH BEACH) LLC

 Filing Information
 Document Number M04000004703
 FEI/EIN Number       201814265
 Date Filed           10/29/2004
 State                DE
 Status               ACTIVE
 Last Event           CANCEL ADM DISS/REV
 Event Date Filed     08/30/2006
 Event Effective Date NONE

 Principal Address
 2001 COLLINS AVE
 MIAMI BEACH FL 33139
 Changed 04/16/2009

 Mailing Address
 2001 COLLINS AVE
 MIAMI BEACH FL 33139
 Changed 04/16/2009

 Registered Agent Name & Address
 CORPDIRECT AGENTS, INC.
 515 EAST PARK AVENUE
 TALLAHASSEE FL 32301 US
 Name Changed: 08/24/2010
 Address Changed: 08/24/2010

 Manager/Member Detail
 Name & Address
 Title MGRM
 GHM (USA) LLC
 1 ORCHARD SPRING LANE #04-02 TOURISM COURT
 SINGAPORE SG 24772-9 SG
 Title MGR
 JENNI, HANS
 1 ORCHARD SPRING LANE #04-02 TOURISM COURT
 SINGAPORE SG 24772-9 SG




http://www.sunbiz.org/scripts/cordet.exe?action=DETFIL&inq_doc_number=M04000004...             3/28/2012
www.sunbiz.org - Department of State                                    Page 2 of 2
Case 1:12-cv-21932-KMM Document 11-1 Entered on FLSD Docket 05/30/2012 Page 3 of 3


 Annual Reports
 Report Year Filed Date
 2010        02/16/2010
 2011        04/04/2011
 2012        03/03/2012

 Document Images
 03/03/2012 -- ANNUAL REPORT                     View image in PDF format

 04/04/2011 -- ANNUAL REPORT                     View image in PDF format

 08/24/2010 -- Reg. Agent Change                 View image in PDF format

 02/16/2010 -- ANNUAL REPORT                     View image in PDF format

 10/20/2009 -- Reg. Agent Change                 View image in PDF format

 08/28/2009 -- Reg. Agent Resignation            View image in PDF format

 04/16/2009 -- ANNUAL REPORT                     View image in PDF format

 05/01/2008 -- ANNUAL REPORT                     View image in PDF format

 07/24/2007 -- ANNUAL REPORT                     View image in PDF format

 08/30/2006 -- REINSTATEMENT                     View image in PDF format

 12/18/2004 -- Amendment                         View image in PDF format

 10/29/2004 -- Foreign Limited                   View image in PDF format

 Note: This is not official record. See documents if question or conflict.


 Previous on List     Next on List           Return To List                                                           Entity Name Search

 Events               No Name History                                                                                       Submit


                                                    
                                                                   
                                                         
                                                        




http://www.sunbiz.org/scripts/cordet.exe?action=DETFIL&inq_doc_number=M04000004...                                               3/28/2012
